                                         UNITED STATES DISTRICT COURT
                 Case 2:08-cr-00212-TLN-EFB  Document
                                   EASTERN DISTRICT    93 Filed 06/05/08 Page 1 of 1
                                                    OF CALIFORNIA

UNITED STATES OF AMERICA                      )
                                              )                    Case No. 2:08-CR-212-LKK
             v.                               )
                                              )
MIGUEL EDWARDO VASQUEZ, et al                 )
_____________________________________________ )

                                 APPLICATION FOR WRIT OF HABEAS CORPUS

        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       (X) Ad Prosequendum                               ( ) Ad Testificandum

Name of Detainee:                Daniel Michael Nebel (DOB: 2/23/79) aka Danny Michael Nebel (DOB: 6/16/78)

Detained at (custodian):         Deuel Vocational Institution (DVI), 23500 Kasson Road, Tracy, CA 95304

Detainee is:               a.)   (x) charged in this district by: (X) Indictment () Information () Complaint
                                    charging detainee with: conspiracy to distribute methamphetamine
                 or        b.)   () a witness not otherwise available by ordinary process of the Court

Detainee will:             a.)   () return to the custody of detaining facility upon termination of proceedings
                 or        b.)   (X) be retained in federal custody until final disposition of federal charges, as a sentence
                                 is currently being served at the detaining facility

                                 Signature:                        /s/ Mary L. Grad_______________________________
                                 Printed Name & Phone No:          Mary L. Grad 916-554-2763
                                 Attorney of Record for:           United States of America

                                             WRIT OF HABEAS CORPUS
                           (X) Ad Prosequendum                 () Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

Date: June 5, 2008.




_________________________________________________________________________________________________
Please provide the following, if known:
AKA(s) (if applicable):           Danny Michael Nebel (DOB: 6/16/78)       X Male    Female
Booking or CDC #:                CDC # T76874
Facility Address:                 Deuel Vocational Institution (DVI)
                                 23500 Kasson Road
                                 Tracy, California 95304
Facility Phone:
Currently Incarcerated For:       Parole Violation
_________________________________________________________________________________________________
                                                   RETURN OF SERVICE

Executed on      ____________________________                      By: ___________________________________________________
                                                                       (Signature)
